                 Case: 18-15189, 02/06/2018, ID: 10753369, DktEntry: 1-4, Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          February 06, 2018


       No.:                   18-15189
       D.C. No.:              3:17-cv-04002-LB
       Short Title:           Open Source Security, Inc., et al v. Bruce Perens


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
         Case: 18-15189, 02/06/2018, ID: 10753369, DktEntry: 1-4, Page 2 of 3




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      FEB 06 2018
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 OPEN SOURCE SECURITY, INC.,                    No. 18-15189
 a Pennsylvania corporation; BRADLEY
 SPENGLER,
                                                D.C. No. 3:17-cv-04002-LB
               Plaintiffs - Appellants,         U.S. District Court for Northern
                                                California, San Francisco
   v.
                                                TIME SCHEDULE ORDER
 BRUCE PERENS,

               Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., February 13, 2018        Mediation Questionnaire due. If your registration for
                               Appellate ECF is confirmed after this date, the
                               Mediation Questionnaire is due within one day of
                               receiving the email from PACER confirming your
                               registration.
Wed., March 7, 2018            Transcript shall be ordered.
Fri., April 6, 2018            Transcript shall be filed by court reporter.
Wed., May 16, 2018             Appellant's opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 32 and
                               9th Cir. R. 32-1.
        Case: 18-15189, 02/06/2018, ID: 10753369, DktEntry: 1-4, Page 3 of 3

Mon., June 18, 2018          Appellee's answering brief and excerpts of record
                             shall be served and filed pursuant to FRAP 32 and
                             9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Ruben Talavera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
